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                                                 UNITED STATES DISTRICT COURT
                     10
                                                            DISTRICT OF ARIZONA
                     11
                           Hualapai Indian Tribe of the Hualapai       NO. 3:24-cv-08154-DJH
THORPE SHWER, P.C.




                     12    Indian Reservation, Arizona,
                     13
                                               Plaintiff,              INTERVENOR DEFENDANT
                     14                                                ARIZONA LITHIUM LIMITED’S
                           v.                                          POST-HEARING SUMMATION
                     15                                                BRIEF IN OPPOSITION TO
                     16    Debra Haaland in her official capacity as   PLAINTIFF’S MOTION FOR
                           the United States Secretary of the          PRELIMINARY INJUNCTION
                     17    Interior; United States Bureau of Land
                           Management; Ray Suazo in his official
                     18
                           capacity as State Director of the United
                     19    States Bureau of Land Management; and
                           Amanda Dodson in her official capacity
                     20    as Field Office Manager of the United
                     21    States Bureau of Land Management
                           Kingman Field Office,
                     22
                                               Defendants.
                     23
                     24    Arizona Lithium Limited,
                     25                 Intervenor Defendant
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                      1             Intervenor Defendant Arizona Lithium Limited (“AZL”) submits this post-hearing
                      2   brief in opposition to the Hualapai’s preliminary injunction request and to address the
                      3   Court’s questions raised at the hearing. (Transcript (“Tr.”) 11:19-13:2, 230:10-231:11).
                      4   I.        LIMITED SCOPE OF THE EXPLORATORY DRILLING PROJECT
                      5             A.    Phase 3 Encompasses Exploratory Drilling, Not Lithium Mining.
                      6             Phase 3 is a “standard exploratory model” to perform “exploration drilling.” (Tr.
                      7   226:4-19). AZL partnered with the Navajo Transitional Energy Company (“NTEC”) to
                      8   oversee execution of Phase 3. (Tr. 164:16-19). Phase 3 is comprised entirely of one bulk
                      9   drilling site and 131 core drilling sites. (Tr. 166:1-6). Any hypothetical future mining
                     10   project, if justified by the exploratory drilling, would require a separate plan for approval,
                     11   which would require its own independent NEPA and NHPA review, and would be at
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                     12   least three years in the future. (Tr. 226:14-227:4; DX5).
                     13             B.    The Phase 3 Exploratory Drilling is Small in Scale.
                     14             Phase 3 is purposefully narrow and minimized in scale to balance the Project’s
                     15   efficacy with AZL’s commitment to cultural and environmental sensitivity. The bulk
                     16   drilling portion has been fully completed. (Tr. 166:7-9). Notably, no groundwater was
                     17   encountered during the bulk drilling. (Tr. 183:6-13)
                     18             The remaining 131 core drill holes are divided into three distinct geographic
                     19   sections: NM, NZ and SZ. (Tr. 166:13-18). These “Phase 3 drill sites are farther away
                     20   than the previously completed Phase 2 drill sites.” (Tr. 174:23-175:7). The SZ sites,
                     21   consisting of 31 holes, are south of Ha’Kamwe’ with the nearest drill site “close to four
                     22   miles away.” (Tr. 167:10-168:1, 169:8-10). Consequently, none of the SZ sites provide
                     23   any visual line-of-sight to Ha’Kamwe’ or its surrounding area. (Tr. 168:4-12, 169:11-13).
                     24   The NM sites, consisting of 61 holes, are north of Ha’Kamwe’, but only approximately
                     25   20 provide visual line-of-sight due to distance and “a lot of elevation change.” (Tr. 169:3-
                     26   7, 169:14-170:3; AZL2_00002). Finally, the NZ sites, consisting of the remaining 39
                     27   holes, are east/southeast of Ha’Kamwe’, but only two of these sites provide visual line-
                     28   of-sight due, again, to topography and distance. (Tr. 170:8-19, 173:25-174:3). Thus, only

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                      1   about 22 sites are visible to/from Ha’Kamwe’. (Tr. 174:4-13).
                      2             In terms of the drilling operation itself, the following facts are uncontested:
                      3             •    NTEC facilitated a safety and awareness training workshop prior to Phase 3
                                         drilling, which included “all our subcontractors, tribal monitors and
                      4                  representatives from the fire department and the police department” and a
                      5                  safety binder was provided to “every crew.” (Tr. 175:11-176:16; AZL1).

                      6             •    Each drill site is biologically surveyed prior to preparation “to check for any
                                         vegetation or animals that are present” and to remain in compliance with BLM
                      7                  approval of Phase 3. (Tr. 178:23-179:14).
                      8             •    The 131 drill sites are not prepped at the same time; instead, only “[u]p to
                                         five” drill pads will exist at any given time. (Tr. 185:18-186:1).
                      9
                                    •    The vast majority of the Phase 3 drilling will be performed with a single sonic
                     10                  drill, which will move from drill site to drill site as it is utilized. (Tr. 180:9-12,
                                         180:24-181:12; AZL6).
                     11
                                    •    Each drill hole will be approximately 3.5” in diameter. (Tr. 188:17-189:1).
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                     12
                                    •    Drilling will go to a maximum depth of 360 feet, but all drill holes will not be
                     13                  drilled to the maximum depth because drilling will stop once any “lithium
                     14                  clays” are encountered. (Tr. 182:14-18, 184:1-5).
                                    •    Following completion of drilling at each site, each will get “regraded and
                     15
                                         eventually reclaimed,” which puts “the earth back to the way that it was” prior
                     16                  to drilling. (Tr. 184:14-23).
                     17             Additionally, it is uncontroverted that no groundwater has ever been encountered

                     18   during the Project, inclusive of all Phase 1, Phase 2 and Phase 3 drilling completed to-

                     19   date. (Tr. 186:6-13, 193:1-8, 227:22-228:7).

                     20             C.     The Abandonment and Mitigation Procedures Are Proven Reliable
                                           and Consistent with Arizona Administrative Code.
                     21
                                    Phase 3 also puts into place well-established mitigation procedures to plug and
                     22
                          abandon a drill site if water is encountered. (Tr. 193:22-24). The abandonment
                     23
                          procedures are not only proven effective and consistent with Arizona Administrative
                     24
                          Code and ADWR requirements, but they are the precise measures that the Hualapai’s
                     25
                          own expert (as well as Federal Defendants’ and AZL’s experts) agrees are proper and
                     26
                          adequate to seal a well. (Tr. 73:8-13, 104:1-3, 143:18-144:10, 194:8-22, 204:21-205:20).
                     27
                                    The Hualapai’s expert testified that as long as “a driller…knows what they are
                     28
                          doing,” the mitigation and hole-abandonment procedures would stop the flow of any
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                      1   water encountered. (Tr. 103:16-20, 104:4-18). Here, all drillers utilized in Phase 3 are
                      2   licensed in Arizona and trained and experienced to handle these water mitigation
                      3   procedures. (Tr. 194:15-19). A driller would immediately be aware if water was
                      4   encountered during drilling. (Tr. 193:14-21). If groundwater is encountered, the driller
                      5   would “stop drilling and abandon the hole according to the regulations and according to
                      6   the plan of operations by using concrete grout.” (Tr. 193:25-194:7). If artesian water is
                      7   encountered, the driller would “stop operations, notify the BLM, and do a well
                      8   abandonment, and similar procedure using concrete grout.” (Tr. 193:25-194:7). All
                      9   supplies necessary to implement these abandonment mitigation procedures are on-site
                     10   and available immediately if needed. (Tr. 194:23-195:2).
                     11   II.       BLM’S NHPA COMPLIANCE
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                     12             A.   BLM Fulfilled its Section 106 Responsibilities.
                     13             BLM defined the area of potential effects (“APE”) as the area of ground
                     14   disturbance guided by “the limited scope and magnitude of the undertaking.” (DX5-002).
                     15   The APE “is influenced by the scale and nature of an undertaking and may be different
                     16   for different kinds of effects caused by the undertaking.” 36 C.F.R. § 800.16(d). BLM
                     17   consulted and conducted a site visit with the Hualapai. (PX1; DX1; DX2; DX3). BLM
                     18   conducted a consulting parties meeting with the Hualapai, Fort Mojave, SHPO, and
                     19   ACHP to “discuss the BLM’s definition of the undertaking, [APE], the BLM’s efforts to
                     20   identify historic properties, and the BLM’s finding of No Historic Properties Affected.”
                     21   (DX5-001). BLM determined “the exploration plan is temporary in nature and does not
                     22   propose any permanent infrastructure,” thus it “would not cause visual, audible,
                     23   atmospheric, or cumulative impacts to a historic property.” (Id.).
                     24             BLM and SHPO “agreed that the undertaking may proceed under” BLM’s
                     25   agreement with SHPO, known as the “Arizona Protocol Agreement” (“Protocol”).
                     26   (DX6). Section 106 authorizes agencies to enter a programmatic agreement, like the
                     27   Protocol. 36 C.F.R. § 800.14(b). “Compliance with the procedures in that [programmatic]
                     28   agreement satisfies the agency’s NHPA Section 106 responsibilities for all covered

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                      1   undertakings.” Dine Citizens Against Ruining Our Env’t v. Bernhardt, 923 F.3d 831, 847
                      2   (10th Cir. 2019). The Protocol establishes a means of complying with the NHPA based
                      3   on a model protocol adopted by BLM and ACHP.1 (DX-6 at 4). BLM fulfilled its Section
                      4   106 obligations because it considered Phase 3’s potential effects, reasonably defined its
                      5   APE, provided information to and consulted with the required parties, and did not receive
                      6   an objection from SHPO or ACHP. See Valley Cmty. Pres. Comm’n v. Mineta, 373 F.3d
                      7   1078, 1091 (10th Cir. 2004) (“establishing an [APE] requires a high level of agency
                      8   expertise, and as such, the agency’s determination is due a substantial amount of
                      9   discretion,” and must be upheld unless arbitrarily defined).
                     10             B.    Cultural Review Under NEPA Satisfies Section 106.
                     11             “[G]iven the flexibility allowed by the NHPA itself,” an agency satisfies Section
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                     12   106 if “the conditioned permit fulfills the goals of the NHPA….” Abenaki Nation of
                     13   Mississquoi v. Hughes, 805 F. Supp. 234, 251 (D. Vt. 1992), aff’d, 990 F.2d 729 (2d Cir.
                     14   1993). “[T]he fundamental purpose of [NHPA] is to protect our historical heritage from
                     15   extinction but not necessarily from every conceivable threat resulting from the exigencies
                     16   of modern life,” and NHPA “was not enacted to review temporary effects….” Cobble
                     17   Hill Assoc. v. Adams, 470 F. Supp. 1077, 1090–91 (E.D.N.Y. 1979). Here, BLM properly
                     18   considered impacts on historic properties in at least three documents—(1) a Cultural
                     19   Resource Survey (“CRS”), (2) a site-specific EA (PX11_019-20, 24-26), and (3) the
                     20   Decision Record (PX13_008-17)—culminating in significant mitigation measures at the
                     21   project site and “[t]o minimize impacts to Ha’Kamwe’.” (PX11_020).
                     22   III.      BLM’S NEPA COMPLIANCE
                     23             A.    BLM Took a “Hard Look.”
                     24             A “hard look” considers the impacts of agency action by providing “a reasonably
                     25   thorough discussion of the significant aspects of the probable environmental
                     26   1
                            The “National Programmatic Agreement is a ‘Program Alternative’ created under the
                     27   NHPA Section 106 regulations, which allows the BLM to develop ‘State Protocol
                          Agreements’ tailored to the individual historic properties management needs and interests
                     28   of each state where BLM has surface management responsibilities.” https://www.blm.gov
                          /programs/cultural-resource/national-programmatic-agreement-NHPA (visited 9/22/24).
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                      1   consequences.” Idaho Sporting Cong. v. Thomas, 137 F.3d 1146, 1149 (9th Cir. 1998).
                      2   This reasonableness review “does not materially differ from an ‘arbitrary and capricious’
                      3   review.” Id. BLM took 3 years to review Phase 3, to address the Hualapai’s concerns,
                      4   and to work with AZL to modify the project by changing the number of drill holes and
                      5   eliminating groundwater pumping. (PX11_007, 20). BLM satisfied NEPA’s “hard look.”
                      6             B.    BLM Satisfied Its Obligations to Consider Alternatives.
                      7             The Ninth Circuit has “repeatedly held that an agency satisfies NEPA when it
                      8   considers only two alternatives—action and no action.” Earth Island Inst. v. U.S. Forest
                      9   Serv., 87 F.4th 1054, 1065 (9th Cir. 2023). BLM addressed concerns, in part, by
                     10   requesting changes to AZL’s Plan of Operation and requiring the additional protective
                     11   and mitigation measures discussed above. (Tr. 227:10-21). With those in place, and
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                     12   following its lengthy review, BLM reasonably concluded that “[a]ny possible alternative
                     13   actions would be limited given the narrow focus of the exploration drilling program,”
                     14   particularly because no “alternative actions…were identified that would have fewer
                     15   impacts than the Proposed Action.” (PX11_014). Plaintiff submitted no scientifically
                     16   backed evidence to support the existence or viability of other adequate alternatives. BLM
                     17   thus satisfied this requirement.
                     18   IV.       THE TEMPORARY AND SPECULATIVE “EFFECTS” OF DRILLING
                     19             The Hualapai assert various Project potential effects, including “visual
                     20   disturbances,” “noise disturbances,” and “impacts to the water and the hydrology of the
                     21   system.” (Tr. 28:18-25.) The alleged effects are too speculative to support a preliminary
                     22   injunction. See All. For the Wild Rockies v. Cattrell, 632 F.3d 1127, 1131 (9th Cir. 2011).
                     23             A.    No Scientifically Valid or Peer-Reviewed Data Supports the Likelihood
                                          of Any Effects to Ha’Kamwe’ Due to Phase 3 Drilling.
                     24
                     25             AZL’s expert testified to a reasonable degree of scientific certainty that Phase 3

                     26   drilling would not affect Ha’Kamwe’ and, specifically, that he does “not envision that

                     27   the…Phase 3 drilling program will encounter water” and he does not believe Phase 3

                     28   presents “any threat to the water quality, temperature, or chemistry at Ha’Kamwe’.” (Tr.

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                      1   203:14-204:3, 211:24-212:4). Federal Defendants’ expert echoed the similar scientifically
                      2   based opinion: “I think the likelihood of the Phase 3 drilling impacting the flow or
                      3   temperature of Ha’Kamwe is low.” (Tr. 141:23-142:2).
                      4             There is no evidence that “that the previous Phase 1 and Phase 2 drilling program
                      5   affected flow rates at Ha’Kamwe’ or the temperatures at that location” and “no recorded
                      6   interactions with shallow groundwater” during any Project drilling. (Tr. 204:5-14). The
                      7   only purported evidence elicited about effects to Ha’Kamwe’ came from a Hualapai tribal
                      8   monitor who (a) is neither a geologist nor a hydrologist, (b) could not provide any causal
                      9   relationship regarding his observations and the drilling project, and (c) never raised any
                     10   of the alleged concerns during “several” conversations with NTEC’s project manager or
                     11   within his written tribal monitor observation reports. (Tr. 50:3-5, 50:24-51:2, 52:14-53:8,
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                     12   191:8-192:1). The only undisputed portion of his testimony is that he never saw or
                     13   reported any water encountered during any drilling process. (Tr. 51:7-21).
                     14             Even the Hualapai’s expert validates the conclusion that Ha’Kamwe’ is sourced
                     15   almost exclusively, if not entirely, by the deep lower confined aquifer and, thus, his own
                     16   report “suggests the likelihood [of encountering pressurized water] is low unless one
                     17   drills to a deep enough zone.” (Tr. 100:24-101:2, 150:23-151:14; PX6_020, 022). As his
                     18   testimony and report bore out, the Hualapai’s expert brought no new data to the analysis,
                     19   but rather sought to manipulate historic data to fit his end-goal hypothesis. He remains
                     20   the only person–inclusive of all the authors of the peer-reviewed studies that form the
                     21   basis for his report and EA decision–to suggest the existence of a “karst aquifer” in the
                     22   Big Sandy Valley. (Tr. 88:2-16, 90:13-16, 92:5-7). In light of his admission that there are
                     23   no “mapped karst features” in the area and otherwise unanimous expert testimony to the
                     24   contrary (supported by extensive hydrogeologic studies in the record) that “there are no
                     25   karstic features in that area that would suggest that shallow groundwater is existing,” this
                     26   Court should determine the Hualapai have not satisfied their burden to demonstrate likely
                     27   irreparable harm to Ha’Kamwe’, particularly when coupled with the mitigation plug-and-
                     28   abandon effectiveness. (Tr. 92:8-10, 204:5-14; PX12; PX17; PX19; AZL1_0150-56).

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                      1             B.    No Irreparable Harm Will Arise from Visual Effects.
                      2             A mere fraction of the Phase 3 drill sites exist in visual line-of-sight to the area
                      3   surrounding Ha’Kamwe’. (Tr. 174:4-13). Even the Hualapai’s Cultural Resources
                      4   Director testified that while “more than a few” drill sites will be visible from
                      5   Ha’Kamwe’, a “majority of drill sites” cannot be seen. (Tr. 34:16-24). No evidence was
                      6   submitted as to how a person’s temporary view of a drill operating “1 to 12 hours,” while
                      7   potentially located miles away from Ha’Kamwe’, creates irreparable harm. (PX11_008).
                      8             C.    No Irreparable Harm Will Arise from Noise Effects.
                      9             The noise from a drill is roughly equal to “a very loud restaurant or a bar or
                     10   standing at a very busy intersection.” (Tr. 192:2-15). Such temporary noise would be
                     11   located at sites often miles away from Ha’Kamwe’ and the degree of noise does not even
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                     12   warrant observers on-site (including tribal monitors) to wear noise protection headwear.
                     13   (Tr. 174:23-175:7, 192:18-25). Moreover, because Phase 3 utilizes a sonic drill for most
                     14   of the drilling (different from the diamond drill used previously), nobody from the Tribe
                     15   was able to offer evidence as to how far the noise will carry or whether it will have any
                     16   impact on their cultural practices. (Tr. 34:4-7). Additionally, evidence demonstrates that
                     17   other manufactured noise exists at the Ranch and Ha’Kamwe’, including buses, vans and
                     18   personal vehicles, and groundskeeper tools, such as weed whackers, lawnmowers,
                     19   chainsaws, and other “power tools.” (Tr. 37:12-19, 123:6-17).
                     20             D.    AZL and NTEC Have Tried to Coordinate with the Hualapai.
                     21             AZL and NTEC are “committed to working with [the Hualapai] to minimize the
                     22   impact of Phase 3 drilling” and their “goal is that traditional cultural practices are not
                     23   disrupted or will be subjected to only limited, temporary disruption in coordination with
                     24   the tribes.” (AZL41_0003; Tr. 36:15-19). The Haulapai are yet to provide any advance
                     25   notice of cultural ceremonies or practices despite many of these ceremonies or practices
                     26   being scheduled “at least several days” and up to “a month ahead” of time. (Tr. 33:13-19,
                     27   36:25-37:2, 40:24-41:16, 121:12-122:7). The Hualapai’s lack of engagement to minimize
                     28   drilling effects should not justify the imposition of injunctive relief.

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                      1             DATED this 24th day of September, 2024.
                      2                                            THORPE SHWER, P.C.
                      3
                      4                                            By /s/ William L. Thorpe
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                      1                                 CERTIFICATE OF SERVICE
                      2             I hereby certify that on this 24th day of September, 2024, the foregoing document

                      3   was electronically transmitted to the Clerk’s Office using the CM/ECF System for filing

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